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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                             Criminal Action No. 1:21-cr-0447-03, 04, 05
                                                     (CJN)

JOSHUA CHRISTOPHER DOOLIN, et al.,

                Defendants.


                                             ORDER

          Trial in this matter was scheduled for March 6, 2023, at 9:00 AM. Defendant Olivia

Pollock failed to appear. Accordingly, for the reasons discussed on the record today, it is

          ORDERED that Defendant Pollock shall be tried separately from her co-defendants

Michael Perkins and Joshua Doolin. It is further

          ORDERED that Defendant Pollock shall be tried with her co-defendant Joseph Daniel

Hutchinson. Pollock’s and Hutchinson’s trial is currently set to begin on August 7, 2023. It is

further

          ORDERED that the time is excluded under the Speedy Trial Act as to Defendant Pollock

from March 6, 2023, to August 7, 2023.


DATE: March 6, 2023
                                                             CARL J. NICHOLS
                                                             United States District Judge




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